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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            Case No. 2023-cv-00102

BYTE FEDERAL, INC.,

       Plaintiff,

       vs.

LUX VENDING LLC d/b/a BITCOIN DEPOT,
HUDDLED MASSES, INC., and
THE CARDAMONE CONSULTING GROUP, LLC.

      Defendants.
__________________________/

                          NOTICE OF FILING SUMMONS

       Plaintiff, Byte Federal, Inc. (“Plaintiff”) by and through their respective

undersigned counsel, hereby files the Summonses for the following entities listed below,

to be executed by the Clerk of Court for service:

       1.     The Cardamone Consulting Group, LLC

       2.     Huddled Masses, Inc.

Dated: August 3, 2023
                                                     /s/ Jonathan Woodard
                                                     John Cyril Malloy, III
                                                     Florida Bar No. 964,220
                                                     jcmalloy@malloylaw.com
                                                     Oliver Alan Ruiz, Lead Counsel
                                                     Florida Bar No. 524,786
                                                     oruiz@malloylaw.com
                                                     Jonathan Woodard
                                                     Florida Bar No. 096,553
                                                     jwoodard@malloylaw.com
                                                     MALLOY & MALLOY, P.L.
                                                     2800 S.W. 3rd Avenue
                                                     Miami, FL 33129
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                                                       T: (305) 858-8000
                                                       Attorneys for Plaintiff

                                Certificate of Service

      I hereby certify that on August 3, 2023, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which serves the foregoing

document on all counsel of record in this case, including counsel for Defendant Lux

Vending,     LLC      d/b/a      Bitcoin       Depot      (wgiltinan@carltonfields.com,

ehoyle@carltonfields.com,              aschwartz@carltonfields.com,                 and

tstanton@stantoniplaw.com).

                                                /s/Jonathan Woodard




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